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                EXHIBIT R
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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE
  SILVERGATE PHARMACEUTICALS, INC.,                     )
                                                        )
                         Plaintiff,                     )
                                                        )
         v.                                             )    C.A. No. __________________
                                                        )
  ALKEM LABORATORIES LTD.,                              )
                                                        )
                         Defendant.                     )

                        COMPLAINT FOR PATENT INFRINGEMENT

         For its Complaint against Defendant Alkem Laboratories Ltd. (“Alkem”), Plaintiff

  Silvergate Pharmaceuticals, Inc. (“Silvergate”), by and through its attorneys, alleges as follows:

                                 THE NATURE OF THE ACTION

         1.      This is an action for patent infringement of United States Patent Nos. 9,669,008

  (“the ’008 patent”), 9,808,442 (“the ’442 patent”), 10,039,745 (“the ’745 patent”), and

  10,154,987 (“the ’987 patent”) (collectively, the “Patents-in-Suit”) under the patent laws of the

  United States of America, Title 35, United States Code, arising out of the submission by Alkem

  of Abbreviated New Drug Application (“ANDA”) No. 213714 to the United States Food and

  Drug Administration (“FDA”) seeking approval of a generic version of Silvergate’s oral solution

  formulation that is the subject of New Drug Application (“NDA”) No. 208686, hereinafter

  referred to as Silvergate’s “Epaned® Product.” Silvergate seeks all available relief under the

  patent laws of the United States, 35 U.S.C. § 100, et seq., and other applicable laws for Alkem’s

  infringement of the Patents-in-Suit.
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                                         THE PARTIES

         2.     Silvergate is a corporation organized and existing under the laws of the State of

  Delaware, with a principal place of business at 6251 Greenwood Plaza Blvd., Suite 101,

  Greenwood Village, CO 80111.

         3.     On information and belief, Alkem is an Indian corporation, having a principal

  place of business at Devashish Building, Alkem House, Senapti Bapat Road, Lower Parel,

  Mumbai – 400 013, India.

         4.     On information and belief, Alkem is in the business of, among other things,

  developing, manufacturing, marketing, importing, and selling generic copies of branded

  pharmaceutical products for the United States market.

                                 JURISDICTION AND VENUE

         5.     This action arises under the patent laws of the United States of America,

  35 U.S.C. § 100, et seq., and from Alkem’s submission of ANDA No. 213714 (“Alkem’s

  ANDA”).

         6.     This Court has subject matter jurisdiction over the action under 28 U.S.C. §§ 1331

  and 1338(a). Relief is sought under 35 U.S.C. § 271(e)(2).

         7.     On information and belief, this Court has personal jurisdiction over Alkem

  because of, among other things, Alkem’s persistent and continuous contacts with Delaware.

  Alkem has purposefully availed itself of the benefits and protections of Delaware’s laws such

  that it should reasonably anticipate being haled into court here. On information and belief,

  Alkem regularly and continuously transacts business in Delaware, including by directly or

  indirectly developing, manufacturing, marketing, and selling generic pharmaceutical products in

  Delaware. On information and belief, Alkem derives substantial revenue from the sale of those

  products in Delaware, and has availed itself of the privilege of conducting business within


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  Delaware. Alkem regularly engaged in patent litigation concerning FDA-approved products in this

  judicial district, has not contested personal jurisdiction in such litigation in this judicial district, and

  has purposefully availed itself of the rights and benefits of this court by asserting claims and/or

  counterclaims in this Court.       See, e.g., Boehringer Ingelheim Pharms. Inc. et al. v. Alkem

  Laboratories Ltd., C.A. No. 18-1738-CFC, D.I. 15 (D. Del. Jan. 11, 2019); H. Lundbeck A/S et al. v.

  Alkem Labs. Ltd. et al., C.A. No. 18-89-LPS, D.I. 13 (D. Del. 2018 Apr. 2, 2018); Biogen

  International GmbH et al. v. Alkem Labs. Ltd. et al., C.A. No. 17-850-LPS, D.I. 12 (D. Del.

  Oct. 16, 2017).

          8.        On information and belief, this judicial district is a likely destination of the

  product that is the subject of Alkem’s ANDA.

          9.        Alternatively, this Court has personal jurisdiction over Alkem pursuant to Federal

  Rule of Civil Procedure 4(k)(2) because (a) Silvergate’s claims arise under federal law;

  (b) Alkem is a foreign defendant not subject to personal jurisdiction in the courts of any state;

  and (c) Alkem has sufficient contacts with the United States as a whole, including, but not

  limited to, preparing and submitting ANDA No. 213714 to FDA and/or manufacturing,

  importing, offering to sell, and/or selling generic pharmaceutical products that are distributed

  throughout the United States, such that this Court’s exercise of jurisdiction over Alkem satisfies

  due process.

          10.       Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 1400(b).

                               SILVERGATE’S EPANED® PRODUCT

          11.       Silvergate’s Epaned® Product is the only FDA approved and labeled ace inhibitor

  treatment that is a ready-to-use oral solution for hypertension in children. Epaned® is also

  indicated to treat hypertension in adults, heart failure, and asymptomatic left ventricular

  dysfunction.


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          12.     Silvergate holds approved NDA No. 208686 for its Epaned® Product.

                                          PATENTS-IN-SUIT

          13.     The ’008 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on June 6, 2017. A true and correct copy of the ’008 patent is attached to this

  Complaint as Exhibit A.

          14.     The ’008 patent was duly and legally issued to Silvergate as the assignee and

  Silvergate owns all rights, title, and interest in the ’008 patent.

          15.     Pursuant to 21 U.S.C. § 355, the ’008 patent is listed in the Approved Drug

  Products with Therapeutic Equivalence Evaluations (“the Orange Book”) in connection with

  Silvergate’s Epaned® Product.

          16.     Silvergate’s Epaned® Product is covered by at least one claim of the ’008 patent.

          17.     The ’442 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on November 7, 2017. A true and correct copy of the ’442 patent is attached to this

  Complaint as Exhibit B.

          18.     The ’442 patent was duly and legally issued to Silvergate as the assignee and

  Silvergate owns all rights, title, and interest in the ’442 patent.

          19.     Pursuant to 21 U.S.C. § 355, the ’442 patent is listed in the Orange Book in

  connection with Silvergate’s Epaned® Product.

          20.     The use of Silvergate’s Epaned® Product is covered by at least one claim of the

  ’442 patent.

          21.     The approved indications for Silvergate’s Epaned® Product are covered by at least

  one claim of the ’442 patent.




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          22.     The ’745 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on August 7, 2018. A true and correct copy of the ’745 patent is attached to this

  Complaint as Exhibit C.

          23.     The ’745 patent was duly and legally issued to Silvergate as the assignee and

  Silvergate owns all rights, title, and interest in the ’745 patent.

          24.     Pursuant to 21 U.S.C. § 355, the ’745 patent is listed in the Orange Book in

  connection with Silvergate’s Epaned® Product.

          25.     Silvergate’s Epaned® Product is covered by at least one claim of the ’745 patent.

          26.     The ’987 patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on December 18, 2018. A true and correct copy of the ’987 patent is attached to

  this Complaint as Exhibit D.

          27.     The ’987 patent was duly and legally issued to Silvergate as the assignee and

  Silvergate owns all rights, title, and interest in the ’987 patent.

          28.     Pursuant to 21 U.S.C. § 355, the ’987 patent is listed in the Orange Book in

  connection with Silvergate’s Epaned® Product.

          29.     The use of Silvergate’s Epaned® Product is covered by at least one claim of the

  ’987 patent.

          30.     The approved indications for Silvergate’s Epaned® Product are covered by at least

  one claim of the ’987 patent.

                                    INFRINGEMENT BY ALKEM

          31.     By letter dated September 23, 2019 (“Notice Letter”), and received by Silvergate

  on September 25, 2019, Alkem notified Silvergate that it had submitted ANDA No. 213714 to

  FDA under Section 505(j)(2)(B) of the Federal Food, Drug, and Cosmetic Act (“FDCA”)

  (21 U.S.C. § 355(j)(2)(B) and 21 C.F.R. § 314.95) seeking approval to engage in the commercial


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  manufacture, use, and sale of a generic version of Silvergate’s Epaned® Product (“the Alkem

  ANDA Product”) before the expiration of the Patents-in-Suit.

            32.   On information and belief, Alkem intends to engage in commercial manufacture,

  use, and sale of the Alkem ANDA Product promptly upon receiving FDA approval to do so.

            33.   By submitting ANDA No. 213714, Alkem has represented to FDA that the Alkem

  ANDA Product has the same active ingredients as Silvergate’s Epaned® Product; has the same

  route of administration, dosage form, use, and strength as Silvergate’s Epaned® Product; and is

  bioequivalent to Silvergate’s Epaned® Product.

            34.   This action is being filed within forty-five (45) days of Silvergate’s receipt of

  Alkem’s Notice Letter.

                                      CLAIMS FOR RELIEF

                             Count I—Infringement of the ’008 patent

            35.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

            36.   Alkem submitted ANDA No. 213714 to FDA under section 505(j) of the FDCA

  to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, and/or

  importation of the Alkem ANDA Product throughout the United States before the expiration of

  the ’008 patent. By submitting the ANDA, Alkem has committed an act of infringement of one

  or more claims of the ’008 patent under 35 U.S.C. § 271(e).

            37.   If Alkem’s ANDA is approved by FDA, the commercial manufacture, use, offer

  to sell, or sale within the United States, and/or importation into the United States of the Alkem

  ANDA Product will constitute acts of infringement of the ’008 patent under 35 U.S.C. § 271(a)-

  (c) unless enjoined by the Court.




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            38.   On information and belief, Alkem had actual and constructive knowledge of the

  ’008 patent prior to submitting ANDA No. 213714 and was aware that submission of this ANDA

  to FDA constituted an act of infringement of the ’008 patent. In addition, on information and

  belief, Alkem had specific intent to infringe the ’008 patent when it filed ANDA No. 213714.

  Moreover, there are no substantial non-infringing uses for the Alkem ANDA Product other than

  as the pharmaceutical claimed in the ’008 patent.

            39.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

  Alkem ANDA Product in violation of Silvergate’s patent rights will cause substantial and

  irreparable harm to Silvergate for which damages are inadequate.

                            Count II—Infringement of the ’442 patent

            40.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

            41.   Alkem submitted ANDA No. 213714 to FDA under section 505(j) of the FDCA

  to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, and/or

  importation of the Alkem ANDA Product throughout the United States before the expiration of

  the ’442 patent. By submitting the ANDA, Alkem has committed an act of infringement of one

  or more claims of the ’442 patent under 35 U.S.C. § 271(e).

            42.   If Alkem’s ANDA is approved by FDA, the commercial use, offer to sell, or sale

  within the United States, and/or importation into the United States of the Alkem ANDA Product

  will constitute acts of infringement of the ’442 patent under 35 U.S.C. § 271(a)-(c) unless

  enjoined by the Court.

            43.   On information and belief, Alkem had actual and constructive knowledge of the

  ’442 patent prior to submitting ANDA No. 213714 and was aware that submission of this ANDA

  to FDA constituted an act of infringement of the ’442 patent. In addition, on information and


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  belief, Alkem had specific intent to infringe the ’442 patent when it filed ANDA No. 213714.

  Moreover, there are no substantial non-infringing uses for the Alkem ANDA Product other than

  the methods claimed in the ’442 patent.

            44.   The commercial use, offer for sale, sale, and/or importation of the Alkem ANDA

  Product in violation of Silvergate’s patent rights will cause substantial and irreparable harm to

  Silvergate for which damages are inadequate.

                            Count III—Infringement of the ’745 patent

            45.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

            46.   Alkem submitted ANDA No. 213714 to FDA under section 505(j) of the FDCA

  to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, and/or

  importation of the Alkem ANDA Product throughout the United States before the expiration of

  the ’745 patent. By submitting the ANDA, Alkem has committed an act of infringement of one

  or more claims of the ’745 patent under 35 U.S.C. § 271(e).

            47.   If Alkem’s ANDA is approved by FDA, the commercial manufacture, use, offer

  to sell, or sale within the United States, and/or importation into the United States of the Alkem

  ANDA Product will constitute acts of infringement of the ’745 patent under 35 U.S.C. § 271(a)-

  (c) unless enjoined by the Court.

            48.   On information and belief, Alkem had actual and constructive knowledge of the

  ’745 patent prior to submitting ANDA No. 213714 and was aware that submission of this ANDA

  to FDA constituted an act of infringement of the ’745 patent. In addition, on information and

  belief, Alkem had specific intent to infringe the ’745 patent when it filed ANDA No. 213714.

  Moreover, there are no substantial non-infringing uses for the Alkem ANDA Product other than

  as the pharmaceutical claimed in the ’745 patent.


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            49.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

  Alkem ANDA Product in violation of Silvergate’s patent rights will cause substantial and

  irreparable harm to Silvergate for which damages are inadequate.

                            Count IV—Infringement of the ’987 patent

            50.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

            51.   Alkem submitted ANDA No. 213714 to FDA under section 505(j) of the FDCA

  to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, and/or

  importation of the Alkem ANDA Product throughout the United States before the expiration of

  the ’987 patent. By submitting the ANDA, Alkem has committed an act of infringement of one

  or more claims of the ’987 patent under 35 U.S.C. § 271(e).

            52.   If Alkem’s ANDA is approved by FDA, the commercial use, offer to sell, or sale

  within the United States, and/or importation into the United States of the Alkem ANDA Product

  will constitute acts of infringement of the ’987 patent under 35 U.S.C. § 271(a)-(c) unless

  enjoined by the Court.

            53.   On information and belief, Alkem had actual and constructive knowledge of the

  ’987 patent prior to submitting ANDA No. 213714 and was aware that submission of this ANDA

  to FDA constituted an act of infringement of the ’987 patent. In addition, on information and

  belief, Alkem had specific intent to infringe the ’987 patent when it filed ANDA No. 213714.

  Moreover, there are no substantial non-infringing uses for the Alkem ANDA Product other than

  the methods claimed in the ’987 patent.

            54.   The commercial use, offer for sale, sale, and/or importation of the Alkem ANDA

  Product in violation of Silvergate’s patent rights will cause substantial and irreparable harm to

  Silvergate for which damages are inadequate.


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                                         PRAYER FOR RELIEF

            Silvergate respectfully requests the following relief:

            a)     A judgment that Alkem has infringed the ’008 patent, the ’442 patent, the ’745

  patent, and the ’987 patent under 35 U.S.C. § 271(e)(2)(A) by submitting ANDA No. 213714

  under Section 505(j) of the FDCA, and that Alkem’s making, using, offering to sell, or selling in

  the United States or importing into the United States of the Alkem ANDA Product will infringe

  one or more claims of the ’008 patent, the ’442 patent, the’745 patent, and the’987 patent;

            b)     A finding that the ’008 patent, the ’442 patent, the ’745 patent, and the ’987

  patent are valid and enforceable;

            c)     An order under 35 U.S.C. § 271(e)(4)(A) that the effective date of any FDA

  approval of ANDA No. 213714 shall be a date which is not earlier than the latest expiration date

  of the ’008 patent, the ’442 patent, the ’745 patent, and the ’987 patent, as extended by any

  applicable periods of exclusivity;

            d)     An order under 35 U.S.C. § 27l(e)(4)(B) permanently enjoining Alkem, its

  subsidiaries, parents, officers, agents, servants, employees, licensees, representatives, and

  attorneys, and all other persons acting or attempting to act in active concert or participation with

  it or acting on its behalf, from engaging in the commercial manufacture, use, offer to sell, sale, or

  importation into the United States, of any drug product the use of which is covered by the ’008

  patent, the ’442 patent, the ’745 patent, and the ’987 patent, including the Alkem ANDA

  Product;

            e)     A finding that this is an exceptional case under 35 U.S.C. § 285, and that

  Silvergate be awarded reasonable attorneys’ fees and costs; and

            f)     An award of any such other and further relief as the Court may deem just and

  proper.


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                                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                               /s/ Megan E. Dellinger

                                               Jack B. Blumenfeld (#1014)
                                               Megan E. Dellinger (#5739)
  OF COUNSEL:                                  1201 North Market Street
                                               P.O. Box 1347
  Wendy L. Devine                              Wilmington, DE 19899
  Kristina M. Hanson                           T: (302) 658-9200
  Yan-Xin Li                                   jblumenfeld@mnat.com
  WILSON SONSINI GOODRICH & ROSATI             mdellinger@mnat.com
  One Market Plaza, Spear Tower, Suite 3300
  San Francisco, CA 94105                      Attorneys for Plaintiff Silvergate
  (415) 947-2000                               Pharmaceuticals, Inc.

  Natalie J. Morgan
  WILSON SONSINI GOODRICH & ROSATI
  12235 El Camino Real, Suite 200
  San Diego, CA 92130
  (858) 350-2300

  November 5, 2019




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